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 Attorneys for Defendant Catlin Specialty Insurance Company


                            UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON

                                       Portland Division


 JEFFREY ROSS GAUTHIER and CLUB                                          Case No. 3:15-cv-1130-SB
 MYSTIC, LLC,

                    Plaintiffs,                      NOTICE OF SUBSTITUTION OF COUNSEL

           v.

 CATLIN SPECIALTY INSURANCE
 COMPANY,

                    Defendant.

       NOTICE is hereby given per LR 83-10 that Jonathan M. Hoffman and Thomas W.

Purcell of Martin, Bischoff, Templeton, Langslet & Hoffman, LLP, 888 S.W. Fifth Avenue,

Suite 900, Portland, Oregon, 97204, hereby substitute in as counsel to represent Defendant Catlin

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Specialty Insurance Company as attorneys of record in place of John L. Langslet and David W.

Cramer of Martin, Bischoff, Templeton, Langslet & Hoffman LLP. All further correspondence

and pleadings should be sent to Mr. Hoffman and Mr. Purcell at the address listed below.

       DATED: December 18, 2015.            MARTIN, BISCHOFF, TEMPLETON,
                                              LANGSLET & HOFFMAN, LLP


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       DATED: December 18, 2015.            MARTIN, BISCHOFF, TEMPLETON,
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